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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                CIVIL ACTION NO. 19-13425

VERSUS                                                  SECTION “D”
                                                        DISTRICT JUDGE VITTER
THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                 MAG. DIV. (2)
                                                        MAG. JUDGE WILKINSON


                                           ORDER

         Considering the foregoing Ex Parte Motion for Expedited Submission on Defendant’s

Appeal from and Objection to Magistrate’s Ruling (R. Doc. 33), filed on behalf of

Defendant, the Administrators of the Tulane Educational Fund (“Tulane” or “Defendant”),

         IT IS ORDERED BY THE COURT that Defendant’s Ex Parte Motion for Expedited

Submission on Defendant’s Appeal from and Objection to Magistrate’s Ruling, be, and the same

is hereby GRANTED, and that Defendant’s Appeal from and Objection to Magistrate’s

Ruling will be submitted on the 17th day of December, 2019.

         New Orleans, Louisiana, this 11th day of December, 2019.




                                                    WENDY B. VITTER
                                                    UNITED STATES DISTRICT JUDGE




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